Case 2:12-md-02311-SFC-RSW ECF No. 2060-11 filed 06/18/20   PageID.37917   Page 1
                                    of 3




                            Exhibit I
        Case 2:12-md-02311-SFC-RSW ECF No. 2060-11 filed 06/18/20                                                        PageID.37918               Page 2
                                            of 3

Jeffrey N. Leibell

From:                       Angela Rivera
Sent:                       Thursday, June 18, 2020 12:18 PM
To:                         Jeffrey N. Leibell
Cc:                         Robin Niemiec; Sandy Peters
Subject:                    FW: FRS - Auto Parts Indirect Claims
Attachments:                FRS Letter to GCG (2020-03-09).pdf; CSAA Insurance Group - ATF - AP Indirect.pdf


Jeff:

Here is the email to the CA.

Angela


Angela Rivera
Project Manager
561.231.5339 | arivera@frsco.com | LinkedIn


                Financial Recovery Strategies
                80 Wesley Street, South Hackensack, NJ 07606
                201.853.0300 Main | 201.853.0301 Fax | www.FRSCO.com
This email message is for the sole use of the intended recipient(s), and may contain confidential and privileged information. Any unauthorized review, use, disclosure
or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email, and destroy all copies and attachments of the original
message. If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System
Administrator.
The above communication is not intended to provide any tax advice. If you wish to obtain tax advice concerning any matter described or referred to in this email
message, you should contact your tax advisor.
Financial Recovery Strategies (FRS) is a third‐party class action settlement claims recovery consulting firm; we are not class counsel or a claims administrator. Class
members may always file claims on their own without retaining FRS, and may contact class counsel and the claims administrator for information about a settlement
and for claims filing assistance. FRS, if retained, works on an agreed‐upon contingent commission basis.


From: Angela Rivera
Sent: Thursday, June 18, 2020 12:12 PM
To: Pinkerton, Brian <brian.Pinkerton@epiqglobal.com>
Cc: info@AutoPartsClass.com
Subject: FRS ‐ Auto Parts Indirect Claims

Dear Claims Administrator:

For the reasons described in the attached March 9, 2020 letter, PLEASE TAKE NOTICE that FRS is hereby supplementing
(a) the proof of claim it filed for Selective Insurance Group [Claim Number not yet provided to FRS] and (b) the claim that
CSAA filed on its own (Claim Number to be Provided). As with the insurers identified in the attached letter, should the
Court rule in FRS’s favor concerning the issue described therein, FRS intends to supplement CSAA’s and Selective’ s proof
of claim. Please add this email and the attached letter to the claim files for Selective and CSAA.

Thank you.


Angela Rivera
Project Manager


                                                                                  1
      Case 2:12-md-02311-SFC-RSW ECF No. 2060-11 filed 06/18/20                                                          PageID.37919               Page 3
                                          of 3
561.231.5339 | arivera@frsco.com | LinkedIn


                Financial Recovery Strategies
                80 Wesley Street, South Hackensack, NJ 07606
                201.853.0300 Main | 201.853.0301 Fax | www.FRSCO.com
This email message is for the sole use of the intended recipient(s), and may contain confidential and privileged information. Any unauthorized review, use, disclosure
or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email, and destroy all copies and attachments of the original
message. If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System
Administrator.
The above communication is not intended to provide any tax advice. If you wish to obtain tax advice concerning any matter described or referred to in this email
message, you should contact your tax advisor.
Financial Recovery Strategies (FRS) is a third‐party class action settlement claims recovery consulting firm; we are not class counsel or a claims administrator. Class
members may always file claims on their own without retaining FRS, and may contact class counsel and the claims administrator for information about a settlement
and for claims filing assistance. FRS, if retained, works on an agreed‐upon contingent commission basis.




                                                                                  2
